                Case 23-11069-CTG   Doc 593-1   Filed 09/18/23   Page 1 of 6




                                       Exhibit A




DOCS_DE:244892.1 96859/001
                 Case 23-11069-CTG              Doc 593-1        Filed 09/18/23         Page 2 of 6




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )     Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )     Re: Docket No. 375


                   ORDER AUTHORIZING THE DEBTORS TO RETAIN
                 AND EMPLOY EPIQ CORPORATE RESTRUCTURING, LLC
             AS ADMINISTRATIVE ADVISOR EFFECIVE AS OF PETITION DATE

                   Upon the application (the “Application”) 2 of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) for entry of an order (this “Order”),

(a) authorizing the Debtors to employ and retain Epiq Corporate Restructuring, LLC (“Epiq”) as

administrative advisor (“Administrative Advisor”) in the Debtors’ chapter 11 cases, effective as

of the Petition Date, in accordance with the Engagement Agreement attached as Exhibit 1 to

Exhibit B to the Application (the “Engagement Agreement”) and (b) granting related relief, all as

more fully set forth in the Application; and the district court having jurisdiction under 28 U.S.C.

§ 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and this Court having found that this Court may enter an order consistent with



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
      in the Application.
             Case 23-11069-CTG          Doc 593-1      Filed 09/18/23      Page 3 of 6




Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the relief requested in the Application is in the best interests of

the Debtors’ estates, their creditors, and other parties in interest; and this Court having found that

the Debtors’ notice of the Application and opportunity for a hearing on the Application were

appropriate and no other notice need be provided; and this Court having reviewed the Application

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Application and at the Hearing establish just cause for the relief granted herein; and upon

all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Application is granted as set forth in this Order.

       2.      The Debtors are authorized to retain Epiq as Administrative Advisor under § 327(a)

of the Bankruptcy Code effective as of the Petition Date under the terms of the Engagement

Agreement as modified herein, and Epiq is authorized to perform the bankruptcy administration

services described in the Application and set forth in the Engagement Agreement.

       3.      Epiq is authorized to take such other action to comply with all duties set forth in

the Application.

       4.      Epiq shall apply to this Court for allowance of its compensation and reimbursement

of expenses incurred after the Petition Date in accordance with § § 330 and 331 of the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules, and any orders entered in these cases regarding

professional compensation and reimbursement of expenses.




                                                  2
             Case 23-11069-CTG         Doc 593-1      Filed 09/18/23    Page 4 of 6




       5.      Epiq may hold its retainer for services authorized pursuant to the Section 156(c)

Application and Order, during the Debtors’ chapter 11 cases as security of payment of Epiq’s final

invoice for services rendered and expenses incurred under both the order authorizing the Section

156(c) services [Docket No. 170] and this Order.

       6.      The Debtors shall indemnify Epiq and each other Indemnified Person, as that term

is defined in the Engagement Agreement (collectively, the “Indemnified Persons”), under the

terms of the Engagement Agreement, as modified pursuant to this Order.

       7.      The Indemnified Persons shall not be entitled to indemnification, contribution, or

reimbursement pursuant to the Engagement Agreement for services other than the services

provided under the Engagement Agreement, unless such services and the indemnification,

contribution, or reimbursement therefor are approved by this Court.

       8.      Notwithstanding anything to the contrary in the Engagement Agreement, the

Debtors shall have no obligation to indemnify the Indemnified Persons, or provide contribution or

reimbursement to the Indemnified Persons, for any claim or expense that is either: (a) judicially

determined (the determination having become final) to have arisen from an Indemnified Person’s

gross negligence, willful misconduct, or fraud; (b) for a contractual dispute in which the Debtors

allege the breach of an Indemnified Person’s contractual obligations if this Court determines that

indemnification, contribution, or reimbursement would not be permissible pursuant to applicable

law; or (c) settled before a judicial determination under (a) or (b), but determined by this Court,

after notice and a hearing, to be a claim or expense for which an Indemnified Person should not

receive indemnity, contribution, or reimbursement under the terms of the Engagement Agreement

as modified by this Order.




                                                3
             Case 23-11069-CTG         Doc 593-1      Filed 09/18/23     Page 5 of 6




       9.      Notwithstanding anything to the contrary in the Engagement Agreement, for

services rendered pursuant to this Order, the limitation of liability contained in paragraph 8 shall

have no force or effect during the Debtors’ chapter 11 cases.

       10.     If, before the earlier of (a) the entry of an order confirming a chapter 11 plan in

these chapter 11 cases (that order having become a final order no longer subject to appeal), or

(b) the entry of an order closing this chapter 11 case, an Indemnified Person believes that it is

entitled to the payment of any amounts by the Debtors on account of the Debtors’ indemnification,

contribution or reimbursement obligations under the Engagement Agreement (as modified by this

Order), including the advancement of defense costs, the Indemnified Person or Epiq must file an

application therefor in this Court, and the Debtors may not pay any such amounts to such

Indemnified Person before the entry of an order by this Court approving the payment. This

paragraph is intended only to specify the period of time under which this Court shall have

jurisdiction over any request for fees and expenses by Epiq for indemnification, contribution, or

reimbursement, and not a provision limiting the duration of the Debtors’ obligation to indemnify

the Indemnified Persons. All parties in interest shall retain the right to object to any demand by

any Indemnified Person for indemnification, contribution, or reimbursement.

       11.     The Debtors and Epiq are authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Application.

       12.     Notwithstanding any term in the Engagement Agreement to the contrary, this Court

retains exclusive jurisdiction with respect to all matters arising from or related to the

implementation of this Order and the Epiq engagement.

       13.     Notwithstanding any provision in the Bankruptcy Rules to the contrary, this Order

shall be immediately effective and enforceable upon its entry.




                                                 4
             Case 23-11069-CTG        Doc 593-1       Filed 09/18/23   Page 6 of 6




       14.    In the event of any inconsistency between the Engagement Agreement, the

Application and the Order, this Order shall govern.




                                                5
